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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
IMERYS TALC AMERICA, INC., et al., 1                         : Case No. 19-10289 (LSS)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x
CYPRUS MINES CORPORATION and                                 :
CYPRUS AMAX MINERALS                                         :
COMPANY,                                                     : Adv. Pro. No. 20-50626 (LSS)
                                                             :
                    Plaintiffs,                              :
         v.                                                  :
                                                             :
IMERYS TALC AMERICA, INC.,                                   :
IMERYS TALC VERMONT, INC.,                                   :
JOHNSON & JOHNSON and JOHNSON                                :
& JOHNSON CONSUMER INC.,                                     :
                                                             :
                    Defendants.                              :
------------------------------------------------------------ x

                   NOTICE OF AGENDA OF MATTERS SCHEDULED
           FOR TELEPHONIC HEARING ON OCTOBER 8, 2020 AT 11:30 A.M. (ET)

         This hearing will be held telephonically and by video. All parties wishing to appear
          must do so telephonically by contacting COURTCALL, LLC at 866-582-6878 no
                            later than Oct. 8, 2020 at 8:30 a.m. to sign up.

              Additionally, anyone wishing to appear by Zoom is invited to use the link
            below. All parties that will be arguing or testifying must appear by Zoom and
           CourtCall. Participants on CourtCall should dial into the call not later than 10
           minutes prior to the start of the scheduled hearing to insure a proper connection.

             PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING

   1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
   identification number, are: Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and
   Imerys Talc Canada Inc. (6748). The Debtors’ address is 100 Mansell Court East, Suite 300, Roswell,
   Georgia 30076.


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               WILL BE MUTED AND THE ONLY AUDIO WILL BE THROUGH
                                  COURTCALL

                                  Topic: Imerys Talc America, Inc.
                     Time: Oct 8, 2020 11:30 AM Eastern Time (US and Canada)

                                       Join ZoomGov Meeting
                           https://debuscourts.zoomgov.com/j/1603287467

                                      Meeting ID: 160 328 7467
                                         Passcode: 464449

                                            Join by SIP
                                    1603287467@sip.zoomgov.com


I.       CONTESTED MATTER:

         1.        Motion of Debtors for Entry of Order (I) Approving Disclosure Statement and
                   Form and Manner of Notice of Hearing Thereon, (II) Establishing Solicitation
                   Procedures, (III) Approving Form and Manner of Notice to Attorneys and
                   Certified Plan Solicitation Directive, (IV) Approving Form of Ballots,
                   (V) Approving Form, Manner, and Scope of Confirmation Notices,
                   (VI) Establishing Certain Deadlines in Connection with Approval of Disclosure
                   Statement and Confirmation of Plan, and (VII) Granting Related Relief [Docket
                   No. 1716 – filed May 15, 2020]

                   Objection / Response Deadline:        June 16, 2020 at 4:00 p.m. (ET); extended
                                                         for the Office of the United States Trustee
                                                         (the “U.S. Trustee”) to June 19, 2020 at 4:00
                                                         p.m. (ET); extended for Rio Tinto America
                                                         Holdings Inc., Rio Tinto America Inc., Rio
                                                         Tinto Services Inc. and Zurich American
                                                         Insurance Company to June 19, 2020

                   Objection / Responses Received:

                   A.     Objection of Arnold & Itkin Plaintiffs to Motion of Debtors for Entry of
                          Order (I) Approving Disclosure Statement and Form and Manner of
                          Notice of Hearing Thereon, (II) Establishing Solicitation Procedures,
                          (III) Approving Form and Manner of Notice to Attorneys and Certified
                          Plan Solicitation Directive, (IV) Approving Form of Ballots,
                          (V) Approving Form, Manner, and Scope of Confirmation Notices,
                          (VI) Establishing Certain Deadlines in Connection with Approval of
                          Disclosure Statement and Confirmation of Plan, and (VII) Granting
                          Related Relief [Docket No. 1847 – filed June 15, 2020]

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                   B.   Objection of the Ad Hoc Committee of Imerys Talc Litigation Plaintiffs to
                        Approval of Disclosure Statement for Joint Chapter 11 Plan of Liquidation
                        Proposed by Imerys Talc America, Inc. and Its Affiliated Debtors [Docket
                        No. 1866 – filed June 16, 2020]

                   C.   Objection of American International Industries to Disclosure Statement for
                        Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and
                        Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket
                        No. 1870 – filed June 16, 2020]

                   D.   Objection and Joinder of the Kline & Specter Plaintiffs in Opposition to
                        the Motion of Debtors for Entry of Order (I) Approving the Disclosure
                        Statement and Form and Manner of Notice of Hearing Thereon,
                        (II) Establishing Solicitation Procedures, (III) Approving Form and
                        Manner of Notice to Attorneys and Certified Plan Solicitation Directive,
                        (IV) Approving Form of Ballots, (V) Approving Form, Manner, and
                        Scope of Confirmation Notices, (VI) Establishing Certain Deadlines in
                        Connection With Approval of Disclosure Statement and Confirmation of
                        Plan, and (VII) Granting Related Relief [Docket No. 1872 – filed June 16,
                        2020]

                   E.   Joinder of Talcum Powder Retailers to Objection of Johnson & Johnson
                        and Johnson & Johnson Consumer Inc. to Motion of Debtors for Entry of
                        Order (I) Approving Disclosure Statement and Form And Manner of
                        Notice of Hearing Thereon, (II) Establishing Solicitation Procedures,
                        (III) Approving Form and Manner of Notice to Attorneys and Certified
                        Plan Solicitation Directive, (IV) Approving Form of Ballots,
                        (V) Approving Form, Manner, and Scope of Confirmation Notices,
                        (VI) Establishing Certain Deadlines in Connection With Approval of
                        Disclosure Statement and Confirmation of Plan, and (VII) Granting
                        Related Relief [Docket No. 1879 – filed June 16, 2020]

                   F.   Providence Washington Insurance Company, as Successor in Interest to
                        Seaton Insurance Company, Successor in Interest Unigard Mutual
                        Insurance Company Joinder in the Certain Insurers’ Objection to
                        (1) Disclosure Statement for Amended Plan and (2) Proposed
                        Confirmation Schedule [Docket No. 2103 – filed August 19, 2020]

                        i.     Providence Washington Insurance Company, as Successor in
                               Interest to Seaton Insurance Company, Successor in Interest
                               Unigard Mutual Insurance Company (A) Joinder in the Certain
                               Insurers’ Objection to (1) Disclosure Statement and (2) Proposed
                               Confirmation Schedule and (B) Reservation of Rights [Docket No.
                               1908 – filed June 19, 2020]

                   G.   Joinder of Certain Underwriters at Lloyd’s, London and Certain London
                        Market Insurers to Certain Insurers’ Objection to (1) Disclosure Statement

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                        for Amended Plan and (2) Proposed Confirmation Schedule [Docket No.
                        2111 – filed August 21, 2020]

                        i.     Joinder of Certain Underwriters at Lloyd’s, London and Certain
                               London Market Insurers to Certain Insurers’ Objection to (1)
                               Disclosure Statement and (2) Proposed Confirmation Schedule
                               [Docket No. 1901 – filed June 19, 2020]

                   H.   Johnson & Johnson’s Second Supplemental Objection to Motion of
                        Debtors for Entry of Order (I) Approving Disclosure Statement and Form
                        and Manner of Notice of Hearing Thereon, (II) Establishing Solicitation
                        Procedures, (III) Approving Form and Manner of Notice to Attorneys and
                        Certified Plan Solicitation Directive, (IV) Approving Form of Ballots,
                        (V) Approving Form, Manner, and Scope of Confirmation Notices,
                        (VI) Establishing Certain Deadlines in Connection With Approval of
                        Disclosure Statement and Confirmation of Plan, and (VII) Granting
                        Related Relief [Docket No. 2258 – filed September 28, 2020]

                        i.     Objection of Johnson & Johnson and Johnson & Johnson
                               Consumer Inc. to Motion of Debtors for Entry of Order
                               (I) Approving Disclosure Statement and Form and Manner of
                               Notice of Hearing Thereon, (II) Establishing Solicitation
                               Procedures, (III) Approving Form and Manner of Notice to
                               Attorneys    and    Certified    Plan   Solicitation Directive,
                               (IV) Approving Form of Ballots, (V) Approving Form, Manner,
                               and Scope of Confirmation Notices, (VI) Establishing Certain
                               Deadlines in Connection With Approval of Disclosure Statement
                               and Confirmation of Plan, and (VII) Granting Related Relief
                               [Docket No. 1878 – filed June 16, 2020]

                        ii.    Johnson & Johnson’s Supplemental Objection to Motion of
                               Debtors for Entry of Order (I) Approving Disclosure Statement
                               and Form and Manner of Notice of Hearing Thereon,
                               (II) Establishing Solicitation Procedures, (III) Approving Form and
                               Manner of Notice to Attorneys and Certified Plan Solicitation
                               Directive, (IV) Approving Form of Ballots, (V) Approving Form,
                               Manner, and Scope of Confirmation Notices, (VI) Establishing
                               Certain Deadlines in Connection with Approval of Disclosure
                               Statement and Confirmation of Plan, and (VII) Granting Related
                               Relief [Docket No. 2105 – filed August 19, 2020]

                   I.   Certain Insurers’ Superseding Objection to (1) Disclosure Statement for
                        Amended Plan and (2) Proposed Confirmation Schedule [Docket No. 2270
                        – filed September 29, 2020]




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                        i.     Certain Insurers’ Objection to (1) Disclosure Statement and
                               (2) Proposed Confirmation Schedule [Docket No. 1865 – filed
                               June 16, 2020]

                        ii.    Certain Insurers’ Objection to (1) Disclosure Statement for
                               Amended Plan and (2) Proposed Confirmation Schedule [Docket
                               No. 2097 – filed August 19, 2020]

                   J.   Hartford Accident and Indemnity Company and First State Insurance
                        Company’s Joinder to Certain Insurers’ Objection to (1) Disclosure
                        Statement for Amended Plan and (2) Proposed Confirmation Schedule
                        [Docket No. 2272 – filed September 29, 2020]

                        i.     Hartford Accident and Indemnity Company and First State
                               Insurance Company’s Joinder to Certain Insurers’ Objection to (1)
                               Disclosure Statement and (2) Proposed Confirmation Schedule
                               [Docket No. 1871 – filed June 16, 2020]

                        ii.    Hartford Accident and Indemnity Company and First State
                               Insurance Company’s Joinder to Certain Insurers’ Objection to (1)
                               Disclosure Statement for Amended Plan and (2) Proposed
                               Confirmation Schedule [Docket No. 2104 – filed August 19, 2020]

                   K.   Cyprus Historical Excess Insurers’ Objection to (1) Disclosure Statement
                        and (2) Proposed Confirmation Schedule [Dkt. 1716, 2084] and Joinder to
                        Certain Insurers’ Objection [Dkt. 2266] to (1) Disclosure Statement for
                        Amended Plan and (2) Proposed Confirmation Schedule [Docket No. 2278
                        – filed October 1, 2020]

                        i.     Cyprus Historical Excess Insurers’ Objection to (1) Disclosure
                               Statement and (2) Proposed Confirmation Schedule [Dkt. 1715,
                               1716] [Docket No. 1894 – filed June 16, 2020]

                        ii.    Cyprus Historical Excess Insurers’ Objection to (1) Disclosure
                               Statement and (2) Proposed Confirmation Schedule [Docket No.
                               2106 – filed August 20, 2020]

                   L.   Supplemental Objection of the U.S. Trustee to Motion of Debtors for
                        Entry of Order (I) Approving Disclosure Statement and Form and Manner
                        of Notice of Hearing Thereon, (II) Establishing Solicitation Procedures,
                        (III) Approving Form and Manner of Notice to Attorneys and Certified
                        Plan Solicitation Directive, (IV) Approving Form of Ballots,
                        (V) Approving Form, Manner, and Scope of Confirmation Notices,
                        (VI) Establishing Certain Deadlines in Connection with Approval of
                        Disclosure Statement and Confirmation of Plan, and (VII) Granting
                        Related Relief [Docket No. 2279 – filed October 4, 2020]


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                         i.     Objection of the U.S. Trustee to Motion of Debtors for Entry of
                                Order (I) Approving Disclosure Statement and Form and Manner
                                of Notice of Hearing Thereon, (II) Establishing Solicitation
                                Procedures, (III) Approving Form and Manner of Notice to
                                Attorneys    and    Certified    Plan   Solicitation  Directive,
                                (IV) Approving Form of Ballots, (V) Approving Form, Manner,
                                and Scope of Confirmation Notices, (VI) Establishing Certain
                                Deadlines in Connection With Approval of Disclosure Statement
                                and Confirmation of Plan, and (VII) Granting Related Relief
                                [Docket No. 1911 – filed June 19, 2020]

                   M.    Joinder of Employers Mutual Casualty Company to Certain Insurers’
                         Superseding Objection to (1) Disclosure Statement for Amended Plan and
                         (2) Proposed Confirmation Schedule [Docket No. 2280 – filed October 5,
                         2020]

                         i.     Joinder of Employers Mutual Casualty Company to Certain
                                Insurers’ Objection to (1) Disclosure Statement for Amended Plan
                                and (2) Proposed Confirmation Schedule [Docket No. 2112 – filed
                                August 21, 2020]

                   N.    Second Supplemental Objection of Cyprus Mines Corporation and Cyprus
                         Amax Minerals Company to Debtors’ Disclosure Statement and
                         Confirmation Schedule [Docket No. 2282 – filed October 5, 2020]

                         i.     Objection of Cyprus Mines Corporation and Cyprus Amax
                                Minerals Company to Debtors’ Motion to Approve Disclosure
                                Statement and Establish Solicitation Procedures [Docket No. 1869
                                – filed June 16, 2020]

                         ii.    Supplemental Objection of Cyprus Mines Corporation and Cyprus
                                Amax Minerals Company to Debtors’ Disclosure Statement and
                                Confirmation Schedule, and Request to Adjourn Hearing [Docket
                                No. 2110 – filed August 20, 2020]

                   O.    Informal comments from Pension Benefit Guaranty Corporation

                   Related Documents:

                   i.    Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and
                         Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket
                         No. 1714 – filed May 15, 2020]

                   ii.   Disclosure Statement for Joint Chapter 11 Plan of Reorganization of
                         Imerys Talc America, Inc. and Its Debtor Affiliates Under Chapter 11 of
                         the Bankruptcy Code [Docket No. 1715 – filed May 15, 2020]


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                   iii.    Notice of Hearing to Consider Approval of Disclosure Statement for Joint
                           Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and Its
                           Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No.
                           1717 – filed May 15, 2020]

                   iv.     Statement of Imerys, S.A. in Connection with the Pending Sale of
                           Substantially all of the Debtors Assets [Docket No. 1975 – filed July 10,
                           2020]

                   v.      Notice of Continued Hearing to Consider Approval of (A) Disclosure
                           Statement [Docket No. 1715] and (B) Solicitation Procedures Motion
                           [Docket No. 1716] [Docket No. 2009 – filed July 17, 2020]

                   vi.     Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                           America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                           Bankruptcy Code [Docket No. 2083 – filed August 12, 2020]

                   vii.    Disclosure Statement for Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2084 – filed
                           August 12, 2020]

                   viii.   Notice of Filing of Blacklines of Revised Disclosure Statement and
                           Amended Plan [Docket No. 2086 – filed August 12, 2020]

                   ix.     Debtors’ Status Report Regarding Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2116 – filed
                           August 21, 2020]

                   x.      Joint Statement of the Official Committee of Tort Claimants and the
                           Future Claimants’ Representative Regarding Case Status and the August
                           26, 2020 Hearing [Docket No. 2119 – filed August 21, 2020]

                   xi.     Notice of Continued Hearing to Consider Approval of (A) Disclosure
                           Statement and (B) Solicitation Procedures Motion [Docket No. 2120 –
                           filed August 21, 2020]

                   xii.    Letter in Response to Debtors’ Request for Emergency Teleconference on
                           the Scheduling of Lift Stay Motion [Docket No. 2121 – filed August 24,
                           2020]

                   xiii.   Notice of Filing of Exhibits to Amended Plan [Docket No. 2184 – filed
                           September 10, 2020]

                   xiv.    Notice of Revised Order (I) Approving Disclosure Statement and Form
                           and Manner of Notice of Hearing Thereon, (II) Establishing Solicitation
                           Procedures, (III) Approving Form and Manner of Notice to Attorneys and
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                           Certified Plan Solicitation Directive, (IV) Approving Form of Ballots,
                           (V) Approving Form, Manner, and Scope of Confirmation Notices,
                           (VI) Establishing Certain Deadlines in Connection with Approval of
                           Disclosure Statement and Confirmation of Plan, and (VII) Granting
                           Related Relief [Docket No. 2288 – filed October 5, 2020]

                   xv.     Second Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                           America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                           Bankruptcy Code [Docket No. 2289 – filed October 5, 2020]

                   xvi.    Disclosure Statement for Second Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2290 – filed
                           October 5, 2020]

                   xvii.   Notice of Filing of Blacklines of Further Revised Disclosure Statement
                           and Further Amended Plan [Docket No. 2291 – filed October 5, 2020]

                   xviii. Declaration of Jeanne C. Finegan in Support of Publication Notice and
                          Supplemental Publication Plan [Docket No. 2292 – filed October 5, 2020]

                   xix.    Debtors’ Omnibus Reply in Support of Motion for Entry of Order (I)
                           Approving Disclosure Statement and Form and Manner of Notice of
                           Hearing Thereon, (II) Establishing Solicitation Procedures, (III)
                           Approving Form and Manner of Notice to Attorneys and Certified Plan
                           Solicitation Directive, (IV) Approving Form of Ballots, (V) Approving
                           Form, Manner, and Scope of Confirmation Notices, (VI) Establishing
                           Certain Deadlines in Connection with Approval of Disclosure Statement
                           and Confirmation of Plan, and (VII) Granting Related Relief [Docket No.
                           2293 – filed October 5, 2020]

                   xx.     Notice of Filing Chart of Responses of the Official Committee of Tort
                           Claimants and the Future Claimants’ Representative to Objections to the
                           Trust Distribution Procedures [Docket No. 2295 – filed October 5, 2020]

                   xxi.    Notice of Filing of Revised Trust Distribution Procedures [Docket No.
                           2296 – filed October 6, 2020]

                   xxii.   Notice of Filing of Corrected Revised TDP [Docket No. 2298 - filed
                           October 6, 2020]

                   Status: The hearing on this matter is going forward.

II.      ADVERSARY STATUS CONFERENCE:

         2.        Complaint, Cyprus Mines Corp. v. Imerys Talc America, Inc., 20-50626 (LSS)
                   [Adv. Docket No. 1 – filed June 15, 2020]

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                   Objection / Response Deadline:        July 15, 2020, extended to July 29, 2020 at
                                                         12:00 p.m. (ET)

                   A.     Answer, Affirmative Defenses, and Counterclaim of Imerys Talc America,
                          Inc. and Imerys Talc Vermont, Inc. to the Complaint of Cyprus Mines
                          Corporation and Cyprus Amax Minerals Company [Adv. Docket No. 8 –
                          filed July 29, 2020]

                   B.     Johnson & Johnson and Johnson & Johnson Consumer Inc.’s Motion to
                          Dismiss the Claims Against Them for Lack of Subject Matter Jurisdiction,
                          or, in the Alternative, to Abstain, or to Sever and Transfer [Adv. Docket
                          No. 9 – filed July 29, 2020]

                   C.     Opening Brief in Support of Johnson & Johnson and Johnson & Johnson
                          Consumer Inc.’s Motion to Dismiss the Claims Against Them for Lack of
                          Subject Matter Jurisdiction, or, in the Alternative, to Abstain, or to Sever
                          and Transfer [Adv. Docket No. 10 – filed July 29, 2020]

                   D.     Cyprus Mines Corporation’s Answer and Affirmative Defenses to
                          Debtors’ Counterclaim [Adv. Docket No. 19 – filed September 1, 2020]

                   E.     Cyprus Mines Corporation and Cyprus Amax Minerals Company’s
                          Opposition to Johnson & Johnson and Johnson & Johnson Consumer
                          Inc.’s Motion to Dismiss [Adv. Docket No. 20 – filed September 1, 2020]

                   F.     Cyprus Mines Corporation’s and Cyprus Amax Minerals Company’s
                          Request for Oral Argument [Adv. Docket No. 22 – filed September 3,
                          2020]

                   G.     Johnson & Johnson and Johnson & Johnson Consumer Inc.’s Reply in
                          Further Support of Its Motion to Dismiss the Claims Against Them for
                          Lack of Subject Matter Jurisdiction, or, in the Alternative, to Abstain, or to
                          Sever and Transfer [Adv. Docket No. 23 – filed September 16, 2020]

                   H.     Motion of Cyprus Mines Corporation and Cyprus Amax Minerals
                          Company for Leave to File Sur-Reply in Opposition to Johnson &
                          Johnson and Johnson & Johnson Consumer Inc.’s Motion to Dismiss
                          [Adv. Docket No. 26 – filed October 6, 2020]

                   Related Documents:

                   i.     Summons and Notice of Pretrial Conference in an Adversary Proceeding
                          [Adv. Docket No. 3 – filed June 15, 2020]

                   ii.    Stipulation for Extension of Time [Adv. Docket No. 5 – filed July 2, 2020]

                   iii.   Stipulation for Extension of Time [Adv. Docket No. 6 – filed July 9, 2020]

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                   iv.    Stipulation Extending Deadline to Respond to Motion to Dismiss [Adv.
                          Docket No. 13 – filed August 5, 2020]

                   v.     Stipulation Extending Deadline to Respond to Counterclaim [Adv. Docket
                          No. 14 – filed August 6, 2020]

                   Status: A status conference regarding discovery is going forward.

Dated: October 6, 2020                    /s/ Michael J. Merchant
       Wilmington, Delaware
                                           RICHARDS, LAYTON & FINGER, P.A.

                                           Mark D. Collins (No. 2981)
                                           Michael J. Merchant (No. 3854)
                                           Amanda R. Steele (No. 5530)
                                           Brett M. Haywood (No. 6166)
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                                           Wilmington, DE 19801
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                                           - and -

                                           LATHAM & WATKINS LLP

                                           Jeffrey E. Bjork (admitted pro hac vice)
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                                           - and -




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                                   Counsel for Debtors and Debtors-in-Possession




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